Case 3:19-bk-30822       Doc 23   Filed 06/06/19 Entered 06/06/19 15:02:25           Desc Main
                                  Document Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: June 6, 2019

                    UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
________________________________________________________________
                      WESTERN DIVISION AT DAYTON


In re: Tagnetics Inc.,
                                                   Case No.   19‐30822

                                                   Judge Humphrey
                                                   Chapter 7



                            Order Scheduling Status Conference
                               and Ordering Other Matters

       On May 17, 2019 the court entered an Order (doc. 18) which scheduled a trial on the
Involuntary Chapter 7 Petition Against a Non‐Individual (doc. 1), filed by Petitioning Creditors
Kenneth W. Kayser, Ronald E. Early, Kayser Ventures Ltd., Jonathan Hager, Robert Strain and
S‐Trek Inc., and Tagnetics Inc.’s Answer to Involuntary Bankruptcy Petition (doc. 10) for June
12, 2019 at 9:30 a.m. On June 5, 2019, counsel for Tagnetics contacted a member of the
court’s staff by email advising that he wished to request a postponement of the trial and
advising that discovery disputes and other issues need to be addressed prior to trial. Counsel
for Petitioning Creditors Kayser Ventures Ltd. and S‐Trek Inc. also contacted the court
advising that his clients would not be opposed to a continuance in certain circumstances and
that additional issues need to be addressed prior to any continuance of the trial.

       In such circumstances, the court determines that a status conference is necessary.

        Accordingly, IT IS ORDERED that a status conference by phone shall be held on June
10, 2019 at 2:00 p.m. (Eastern Time). At the time of the status conference, the court intends
to address any discovery disputes and issues, the scheduling of the trial, and any other
matters which must be resolved to further the adjudication of the matter.
Case 3:19-bk-30822       Doc 23    Filed 06/06/19 Entered 06/06/19 15:02:25         Desc Main
                                   Document Page 2 of 2




       All counsel and parties appearing pro se are required to participate in the scheduled
status conference.

       Further, because the number of participants may exceed the capacity of the court’s
conferencing system, the court has arranged a conference call. All counsel and all parties
appearing pro se shall, five (5) minutes prior to the above time, call into the conference
service using the following information:

Phone number – 1‐888‐363‐4749
Access Code: 9873511, followed by the # sign
Security Code: 78433, followed by the # sign

      The court may rule on any relief sought during the status conference if the court
determines that such relief is warranted and an evidentiary hearing is not necessary.

       Please note that all telephonic status conferences, pretrial conferences, and other
hearings are electronically recorded and maintained as part of the court’s records. All
counsel and parties should conduct themselves accordingly.

        Finally, the court notes that Petitioning Creditors Kenneth W. Kayser, Rondald E.
Early, Jonathan Hager and Robert Strain, although appearing pro se, have not filed their
telephone numbers with the court. If the parties are proceeding in this case on a pro se
basis, pursuant to Local Bankruptcy Rule 9011‐2, they are required to file their telephone
numbers with the court within 14 days of the entry of this order. If the pro se parties wish to
be contacted by the court by email, they may include their email address in their required
filing or provide their email address to the court’s Courtroom Deputy by emailing
Joni_Behnken@ohsb.uscourts.gov.

       IT IS SO ORDERED.

Copies to:

All Creditors and Parties in Interest

Stephen B. Stern, 238 West Street, Annapolis, Maryland 21401

Douglas S. Draper, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

Leslie A. Collins, 650 Poydras Street, Suite 2500, New Orleans, Louisiana 70130

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